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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


PENOVIA LLC,
                                                Case No. 2:13-cv-00427-JRG
                            Plaintiff,
v.
                                                JURY TRIAL DEMANDED
XEROX CORPORATION,

                            Defendant.

                        AGREED MOTION TO DISMISS WITH
                      PREJUDICE, PURSUANT TO SETTLEMENT

       Pursuant to Fed. R. Civ. P. 41 and pursuant to a settlement agreement between the

parties, Plaintiff Penovia LLC (“Penovia”) hereby moves to dismiss with prejudice Penovia’s

claims against Defendant Xerox Corporation, with each party to bear its own costs, expenses and

attorneys’ fees.



Dated: September 20, 2013                  Respectfully submitted,


                                           /s/ Craig Tadlock           ______
                                           Craig Tadlock
                                           State Bar No. 00791766
                                           Keith Smiley
                                           State Bar No. 24067869
                                           TADLOCK LAW FIRM PLLC
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                                           Attorneys for Plaintiff Penovia LLC
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that on September 20, 2013, I conferred by email with counsel for

Defendant Xerox Corporation, and counsel for Xerox has agreed to the form and substance of

this motion. Accordingly, this motion is an agreed motion.


                                            /s/ Craig Tadlock
                                            Craig Tadlock



                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who have consented to electronic service are

being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-

5(a)(3) on this the 20th day of September, 2013.

                                            /s/ Craig Tadlock
                                            Craig Tadlock




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